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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

In re: Pharmaceutical Industry Average
Wholesale Price Litigation MDL No. 1456
Cc

.A. No. 01-12257-PBS

This Decument Relates to: ALL ACTIONS The Honorable Patti B. Saris

JOINT MOTION OF THE ATTORNEYS GENERAL OF ILLINOIS,
KENTUCKY, WISCONSIN, AND IDAHO FOR LEAVE TO FILE A
MEMORANDUM REGARDING PLAINTIFFS' MOTION FOR CLASS CERTIFICATION
AND TO APPEAR AT THE COURT'S FEBRUARY 10, 2005 HEARING

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Lisa Madigan, Attorney General of the State of Illinois; Gregory D. Stumbg, Attoriey i

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General of the Commonwealth of Kentucky; and Peggy A. Lautenschlager, song Gon ofsy i

the State of Wisconsin (hereinafter jointly referred to as "the Attorneys General" seni Gin m

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submit this joint memorandum requesting leave of the Court to file a memoranddigregarating =
plaintiffs’ motion for class certification and to appear at the Court's February 10, 2004 heaving on
the motion. In addition, Lawrence G. Wasden, Attorney General of the State of Idaho, which is
currently conducting an AWP investigation but has not filed suit, joins in this motion.

As explained in greater detail in the proposed joint memorandum attached hereto, the
Attorneys General have filed AWP-related lawsuits in their respective state courts on their own
behalf and on behalf of certain of their citizens in their parens patriae capacity. At least one of
the claims asserted by the Attorneys General is identical to a claim asserted by the MDL
plaintiffs. With respect to all other claims asserted by the Attorneys General, the Attorneys
General seck relief on behalf of the same citizens that plaintiffs seek to represent through their
motion for class certification and, with respect to Wisconsin, on behalf of third-party payors
domiciled in Wisconsin. Accordingly, the Attorneys General wish to provide the Court with

their views to ensure that the proceedings in the MDL do not interfere with, or impede in any

way, the ability of the Attorneys General to prosecute their cases.
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An affidavit of Special Assistant Attomey General Robert 8. Libman, as well as a
proposed order, are attached to this motion.’
Respectfully submitted,

LISA MADIGAN
Attorney General of the State of Hlinois

GREGORY D. STUMBO
Attorney General of the Commonwealth of
Kentucky

PEGGY A. LAUTENSCHLAGER
Attorney General of the State of Wisconsin

LAWRENCE G. WASDEN
Attorney General of the State of Idaho

TF 4
By: out. i
ROBERT S. LIBMAN
Special Assistant Attorney General
for the States of Illinois, Kentucky,

Wisconsin, and Idaho

Dated: February 7, 2005

Miner, Barnhill & Galland
14 W. Erie St.

Chicago, IL 60610

(312) 751-1170

(312) 751-0438 (facsimile)

' Mr. Libman's affidavit is also attached to a separate motion to appear pro hac vice on behalf of
Illinois, Kentucky, Wisconsin, and Idaho for the limited purpose of presenting the position of
these states with respect to class certification that is being filed contemporaneously by John
Shapiro, a member in good standing of the bar of this Court who has also filed an appearance in
this case.
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

)
In re: Pharmaceutical Industry Average )
Wholesale Price Litigation ) MDL No. 1456
) C.A. No. 01-12257-PBS
)
This Document Relates to: ALL ACTIONS ) The Honorable Patti B. Saris
}
AFFIDAVIT OF

ROBERT 8S. LIBMAN

Affiant, Robert S. Libman, Jr., after first being duly sworn, states as follows:

1. I make this Affidavit in support of the Joint Motion of the Attorneys General of
Illinois, Kentucky, Wisconsin, and Idaho for Leave to File a Memorandum Regarding Plaintiffs’
Motion for Class Certification and to Appear at the Court's February 10, 2004 Hearing.

2. 1am an Attorney at Law, duly licensed to practice by the State of California since
1988, by the District of Columbia since 1991, and by the State of Illinois since 2004. I am also
admitted to practice before the United States Supreme Court and the United States District
Courts for the Northern District of California and the Norther District of Illinois.

3. [am a member in good standing in every jurisdiction in which I have been admitted to
practice. There are no disciplinary proceedings pending against me as a member of the bar of
any jurisdiction.

4. [have been appointed a Special Assistant Attorney General for the States of Illinois,
Kentucky, and Wisconsin in connection with their AWP-related litigation identified in the
proposed Joint Memorandum Regarding Plaintiffs’ Motion for Class Certification. In addition, I
have been appointed a Special Assistant Attorney General for the State of Idaho for the limited
purpose of representing the state in connection with class certification in this case.

5. Lam familiar with the Local Rules of the U.S. District Court for the District of

Massachusetts.
Case 1:01-cv-12257-PBS Document 1340-2 Filed 02/09/05 Page 4 of 16

6. Tam a member of the law firm of Miner, Barnhill & Galland. My office address,
telephone number, and e-mail address are as follows:

Robert S. Libman

Miner, Barnhill & Galland, P.C.
14 W. Ene St.

Chicago, IL 60610

(312) 751-1170

(312) 751-0438 (telefax)
rlibman@lawmbg.com

FURTHER AFFIANT SAYETH NAUGHT.

NetIQ

Robert S$. Libman

STATE OF ILLINOIS )
)
COUNTY OF COOK )

Before me, a Notary Public in and for the State of Illinois this date appeared Robert S.
Libman and acknowledged the foregoing as his voluntary act and deed. Witness my hand and
Notarial Seal this seventh day of February, 2005.

falibove. 4 Mr ngr.

o see secseescecosees Notary Public
“OFFICIALSEAL" ¢
3 PATRICIA TURN
$ NOTARY PUBLIC, STATE OF iCuWoIs [2 3/07
, MY COMMISSION EXPIRES 11.23.07 $ My Comphission Expires

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

In re: Pharmaceutical Industry Average
Wholesale Price Litigation MDL No. 1456

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) C.A. No. 01-12257-PBS
)
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)

This Document Relates to: ALL ACTIONS The Honorable Patti B. Saris

Upon consideration of the Joint Motion of the Attorneys General of Illinois, Kentucky,
Wisconsin, and Idaho for leave to file a memorandum regarding plaintiffs' motion for class
certification and to appear at the Court's February 10, 2004 hearing, it is hereby

ORDERED that the motion is GRANTED. It is further

ORDERED that the Joint Memorandum of the Attorneys General of Illinois, Kentucky,
Wisconsin, and Idaho Regarding Plaintiffs' Motion for Class Certification, is deemed filed as of
the date of this Order. It is further

ORDERED that counsel for the States of Illinois, Kentucky, Wisconsin, and Idaho shall
be permitted to appear at the Court's February 10, 2004 hearing on plaintiffs' motion for class
certification. It is further

ORDERED that Special Assistant Attorney General Robert S$. Libman is admitted to
appear pro hac vice for the limited purpose of presenting the position of Illinois, Kentucky,
Wisconsin, and Idaho with respect to plaintiffs’ motion for class certification at the February 10,

2004 hearing.

So ordered this _day of February, 2005.

Honorable Patti B. Saris
United States District Judge
Distnct of Massachusetts
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

In re: Pharmaceutical Industry Average
Wholesale Price Litigation MDL No. 1456

C.A. No. 01-12257-PBS
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This Document Relates to: ALL ACTIONS he Honorable Patti B. Saris

JOINT MEMORANDUM OF THE ATTORNEYS GENERAL
OF ILLINOIS, KENTUCKY, WISCONSIN, AND IDAHO
REGARDING PLAINTIFFS' MOTION FOR CLASS CERTIFICATION

lL. Introduction.

Lisa Madigan, Attorney General of the State of Illinois; Gregory D. Stumbo, Attorney
General of the Commonwealth of Kentucky; and Peggy A. Lautenschlager, Attorney General of
the State of Wisconsin (hereinafter jointly referred to as "the Attorneys General"), respectfully
submit this joint memorandum in order to preserve and protect the ability of the Attorneys
General to prosecute their currently pending "averaye wholesale price" ("AWP") lawsuits in state
court. In addition, Lawrence G. Wasden, Attorney General for the State of Idaho, which is
currently conducting an AWP investigation but has not ftled suit, Joins in this memorandum.

As explained in greater detail below, the Attorneys General have filed AWP-related
lawsuits in their respective state courts on their own behalf and on behalf of certain of their
citizens in their parens patriae capacity. One of the claims asserted by the Illinois Attorney
General is identical to a claim asserted by the MDL plaintiffs. With respect to all other claims
asserted by the Attorneys General, the Attormeys General seek relief on behalf of the same
citizens that plaintiffs seek to represent through their motion for class certification and, with
respect to Wisconsin, on behalf of third-party payors domiciled in Wisconsin. The Attorneys
General object to plaintiffs’ motion for class certification to the extent that such certification
would interfere with, or impede in any way, the ability of the Attorneys General to prosecute

their cases. Accordingly, the Attorneys General request that the Court enter an appropriate order
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to preserve the primacy of the Attorneys General’s claims. Specifically, the Attorneys General
request that this Court: (a) stay the single claim in MDL No. 1456 that overlaps with the claim
asserted by the Illinois Attorney General; and (b} amend Section VI of this Court’s March 25,
2004 Case Manageraent Order No. 10 by replacing the existing language with language
prohibiting plaintiffs' counsel in MDL No. 1456 from engaging in any settlement negotiations
regarding their claims that would extinguish or release any claim brought by the Attorneys
General. In addition, any order entered by the Court should account for the probability that the
problems identified m this memorandum are likely to recur as other Attorneys General who are
conducting AWP-related investigations (including but not limited to Idaho) file suit, or Attorneys

General with existing lawsuits expand their complaints.

Il. Pending litigation filed by the Attorneys General and overlap with the MDL. !

The Attorneys General have each filed one or more AWP lawsuits in their respective state
courts against many of the same defendants presently before the MDL, including all ftve Track 1
defendants.’ Like the instant litigation, the lawsuits of the Attorneys General allege that
defendants have published phony and inflated AWPs. The Attorneys General allege that this
conduct violated their respective state laws and resulted in higher prices for prescription drugs
being paid by the states themselves (as payers under the Medicaid program), by the states’
citizens who pay for part of the cost of drugs under Part B of the Medicare program, and, with

respect to Wisconsin, by private third-party payors domiciled in the state.

' The Attorneys General join in and incorporate by reference the description of the background of
Attorney General investigations and prosecutions of the drug industry as set forth in the brief submitted
by the Office of the Attomey General for the Commonwealth of Pennsylvania.

* The People of the State of Illinois v. Abbott Laboratories, et al., No. 05 CH 2474 (Cook County Circuit
Court); Commonwealth of Kentucky v. Abbott Laboratories, Inc., No. 03-CI-1134 (Franklin County
Circuit Court); Commonwealth of Kentucky v. Warrick Pharmaceuticals Corp., et al., No. 03-CI-1135
(Franklin County Circuit Court); Commonwealth of Kentucky v. Alpharma, Inc., No. 04-CI-1487
(Franklin County Circuit Court); State of Wisconsin v. Amgen, Inc., et al., No. 04-CV-1709 (Dane County
Circuit Court). We refer to these actions as the "state lawsuits." Copies of these complaints (or amended
complaints) are attached as Exhs. 1-5.
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Of the claims brought by the Attorneys General,’ it appears that only one overlaps with a
claim asserted by the MDL plaintiffs -- a claim under the Illinois Consumer Fraud and Deceptive
Practices Act, 815 ILCS §505/1, et seg. See Illinois complaint, {[81-88; MDL Amended Master
Consolidated Class Action Complaint ("AMCC"), 684-91. We refer to this as the "overlapping

"With respect to all other claims brought by the Attorneys General, the state lawsuits

claim.
overlap with the MDL action with respect to the persons on whose behalf relief is sought.
Specifically, each Attorney General, as well as MDL class counsel, seek relief for citizens of the
States of lllinois, Kentucky, and Wisconsin who are beneficiaries under Medicare, Part B.
Further, the Wisconsin Attorney General and MDL class counsel both seek relief for private
third-party payors domiciled in Wisconsin. We will refer to these as the "overlapping citizens."

Il. The State Attorneys General have primary authority to represent and protect their
citizens and have determined that their actions are superior to the MDL action.

The Attorneys General join in and incorporate by reference the arguments and authority
cited by the Pennsylvania Attorney General asserting that the State Attorneys General have
primary authority to represent the citizens of their respective states.

Without repeating those arguments here, the primacy of the Attommeys General is clearly
established by the fact that the Attorneys General are statutorily authorized to represent their

citizens while MDL class counsel are not. See, e.g., Illinois Consumer Fraud and Deceptive

* Tllinois asserts claims under the Illinois Consumer Fraud and Deceptive Business Practices Act, §15
ILCS §§505/2 and 505/2-CC, the IHinois Public Assistance Fraud Act, 305 ILCS §5/8A-7(b), and the
Illinois Whistleblower Reward and Protection Act, 740 ILCS §175/1, et seg.

Kentucky asserts claims under the Kentucky Consumer Protection Act, KRS 367.170, the Kentucky
Medicaid Fraud statute, KRS 205.8463, the Kentucky False Advertising statute, KRS 517.030, common
law fraud, and negligent misrepresentation.

Wisconsin asserts claims under its statute prohibiting fraudulent representations, Wis. Stat.
§§100.18(1) and 10(6); the Wisconsin Trust and Monopolies Act, Wis. Stat. §133.05, the Wisconsin
Medical Assistance Fraud statute, Wis. Stat. §49.49(4m)(a)(2), and under a theory of unjust enrichment.

* Our view that there is only one overlapping claim is based on the 11 state statutes specifically
identified in 9686 of the AMCC. However, to the extent that class counsel seek to assert claims under
the consumer protection statutes of all 50 states, including those of Kentucky and Wisconsin, we include
the claims under the consumer protection statutes of Kentucky and Wisconsin in our definition of
"overlapping claims."
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Business Practices Act, 815 ILCS §505/7(a) ("[w]henever the Attorney General or a State's
Attorney has reason to believe that any person is using, has used, or is about to use any method,
act or practice declared by this Act to be unlawful, and that proceedings would be in the public
interest, he or she may bring an action in the name of the People of the State against such person
to restrain by preliminary or permanent injunction the use of such method, act or practice");
IHinois Public Assistance Fraud Act, 305 ILCS §5/8A-7(c) ("[c]ivil recoveries provided for in
this Section may be recoverable in court proceedings initiated by the Attorney General...");
Tlhnois Whistleblower Reward and Protection Act, 740 ILCS §175/4 ("[t]he Attorney General
may bring a civil action under this Section against any person that has violated or is violating
Section 3"); KRS 367.190(1) ("[w]henever the Attorney General has reason to believe that any
person is using, has used, or is about to use any method, act or practice declared by KRS 367.170
to be unlawful, and that proceedings would be in the public interest, he may immediately move in
the name of the Commonwealth in a Circuit Court for a restraining order or temporary or
permanent injunction to prohibit the use of such method, act or practice."); Wis. Stat.
100.18(11)(d) ("the department of Justice [a part of the Office of the Attorney General]...may
commence an action in circuit court in the name of the state to restrain by temporary or
permanent injunction any violation of this section"); Wis. Stat. 133.05(4) ("the department of
justice...may bring an action for a civil forfeiture"). This represents a determination of the State
legislatures that the Attorneys General are the most appropriate parties to assert the interests of
the States’ residents when they choose to do so.” Moreover, the state lawsuits are different than
typical civil lawsuits in that they constitute enforcement actions by the States. Indeed, civil
penalties are available to the States that are not available to private litigants. See, e.g., 815 ILCS
§§505/7(b) and (c); 740 ILCS §175/3(a); KRS 367.990(2); KRS 205.8467(1); Wis. Stat.
§100.264(2); Wis. State §133.05(4); Wis. Stat. §49.49(4m)(b).

The Attorneys General have chosen to pursue their claims in state court for a number of

reasons. For mstance, the Attorneys General believe that the claims they have asserted are

> See also IL Const. art. V, $15 ("[t]he [lllinois] Attorney General shall be the legal officer of the State,
and shall have the duties and powers that may be prescribed by law").

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substantively superior to those asserted in the MDL. Civil RICO and federal antitrust claims are
unquestionably complex, not to mention difficult to prove. By contrast, the consumer protection
and other claims brought by the Attorneys General are simple, straightforward, and in most
instances have an easier standard of proof. For example, the Illinois Consumer Fraud and
Deceptive Business Practices Act, 815 ILCS §505/2, only requires that the challenged conduct be
"unfair" and does not require proof of intent to deceive. In addition, Illinois and Wisconsin
specifically prohibit a person or entity from representing a price as a wholesale price when it is
more than the price that retailers regularly pay for the product. 815 ILCS §505/2-CC; Wis. Stat.
§100.18(10)(b),

Moreover, the Attorneys General have determined that the state court actions are
procedurally superior to the MDL. There is no need for court approval or certification of the
parens patriae actions and consumer fraud claims brought by the Attorneys General. Plaintiffs
in the MDL action, however, must convince the court to certify a class under exacting
requirements of Fed.R.Civ.P. 23. And even assuming that plaintiffs in the MDL get over this
hurdle, defendants have a right to, and most likely will, appeal such certification, see
Fed.R.Civ.P. 23(f), resulting undoubtedly in delay.

IV. The Court should enter an appropriate order to protect the primary and
superior authority of the attomeys general to represent their citizens.

A. The Court should stay any overlapping claims.

The Attorneys General request that the Court stay in the MDL the overlapping claim
brought pursuant to the [llinois Consumer Fraud and Deceptive Practices Act and any other
overlapping claims.° The choice of the State legislatures to assign responsibility for enforcing
these laws to their Attorneys General should not be subordinate to the interest of MDL class

counsel in representing all consumers throughout the nation.

6 See, supra, n. 4.
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B. The Court should amend Section VI of Case Management Order
No. 10 and enter an order to preclude class counsel from
engaging in any settlement negotiations regarding their
claims on behalf of overlapping citizens that would extinguish
or release any claim brought by the Attorneys General.

As these cases stand today, with the exception of the one or more overlapping claims, the
Attomeys General have asserted claims different than those asserted by the MDL plaintiffs. Yet
both cases seek relief for a group of overlapping citizens (Medicare, Part B beneficiaries in
Illinois, Kentucky, and Wisconsin, and third-party payors in Wisconsin). The Attorneys General
do not object to MDL class counsel pursuing claims on behalf of overlapping citizens that the
Attorneys General have not yet asserted, i.e., civil RICO and federal antitrust claims. Nor do the
Attorneys General object to MDL class counsel attempting to resolve the claims asserted in the
MDL on behalf of overlapping citizens. If the Court is of the view that parallel litigation in the
MDL and state courts for the overlapping citizens is inappropriate, then at a minimum the MDL
clatms for the overlapping citizens should be stayed because of the primacy of the claims of the
Attorneys General. However, if the Court permits parallel litigation to proceed, MDL class
counsel should not be permitted to negotiate their claims on behalf of overlapping citizens in any
manner that would extinguish or release any claim brought by the Attorneys General. Stated
simply, the MDL claims for overlapping citizens should proceed separately from the claims
asserted by the Attorneys General provided that the Attorneys General retain sole and exclusive
authority to settle the claims they assert.

In order to protect the primary authority of the Attorneys General to settle the claims they
have asserted, we request that the Court amend Section VI of its March 25, 2004 Case
Management Order No. 10. That provision states:

To protect the integrity of the MDL process, Defendants shall notify the Plaintiffs

and the Court in writing of any attempts to settle any of the claims before this

Court in another jurisdiction upon commencement of such discussions. Failure to

do so may result in injunctive relief, contempt sanctions, and refusal to give any

judgment preclusive effect.

This provision should be amended for several reasons. First, it was entered without

notice to the Attorneys General or an opportunity to object. Second, there does not appear to be
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any legitimate purpose for the provision, particularly because there is no potential for harm in its
absence, at least with respect to negotiations between the defendants and the Attorneys General.
Third, it effectively enjoins the Attorneys General, non-parties to the MDL, from speaking with
counsel for the defendants named in their state actions with regard to any overlapping claims and
the claims on behalf of the overlapping citizens, raising serious comity, First Amendment, and
sovereign immunity concerns.’ Finally, the provision has in fact interfered with the primary
authority of the Attorneys General to represent their citizens. One defendant named by the
Attomeys General, Dey, Inc., has expressed a desire to engage in settlement negotiations with the
States (and has already settled claims brought by Arkansas, Texas, and West Virginia) but has
cited Case Management Order No. 10 as the basis for its inability to discuss the claims on behalf
of Medicare Part B beneficiaries. There should be no impediment to these discussions. The
Attorneys General must be free to negotiate all of their claims with the parties they have named
as defendants. Accordingly, the Attorneys General request that the Court replace the existing
language of Section VI of Case Management Order with language prohibiting MDL class counsel
from negotiating their claims on behalf of overlapping citizens in any manner that would
extinguish or release any claim brought by the Attorneys General on behalf of the people of his

or her State.
V. Conclusion.

Incident to its class certification decision, the Attorneys General request that the Court:

(a) stay the claim in MDL No. 1456 pursuant to the Illinois Consumer Fraud
and Deceptive Practices Act, 815 ILCS §505/1, et seq., and any claims that
class counsel seek to assert under the consumer protection laws of
Kentucky and Wisconsin;

(b) amend Section VI of this Court's March 25, 2004 Case Management Order
No. 10 by replacing the existing language with language prohibiting class
counsel in MDL No. 1456 from engaging in any settlement negotiations
regarding their claims brought on behalf of overlapping citizens
(Medicare, Part B beneficiaries in Illinois, Kentucky, and Wisconsin, and

” See Massachusetts State Grange v. Benton, 272 U.S. 525, 527 (1926) ("no injunction ought to issue
against officers of a state clothed with authority to enforce the law in question, unless in a case
reasonably free from doubt and when necessary to prevent great and irreparable injury").

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Wisconsin, and third-party payors in Wisconsin) that would extinguish or
release any claim brought by the Attorneys General; and

(c) grant leave to other Attorneys General who are conducting AWP
investigations (including but not limited to Idaho) to seek similar relief
after they file suit.

Respectfully submitted,

LISA MADIGAN
Attorney General of the State of Illinois

GREGORY D. STUMBO
Attorney General of the Commonwealth of
Kentucky

PEGGY A. LAUTENSCHLAGER
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By: | aug ee
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Dated: February 7, 2005

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PROOF OF SERVICE

Lisa Mecca Davis certifies that she caused a copy of the foregoing Motion to be served

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upon counsel named below, by e-mail, this seventh day of February, 2005.

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